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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


UNITED STATES OF AMERICA                                )
                                                        )
v.                                                      )       Crim. No. 03-41-P-H
                                                        )
NICHOLAS BLAKE,                                         )
                                                        )
                        Defendant                       )


                                               ORDER

        This matter came before me this date for a preliminary hearing pursuant to Fed. R. Crim. P.

32.1(a)(1). The defendant appeared with counsel, waived his right to a preliminary hearing and

consented to the entry of a finding of probable cause to hold him for a revocation hearing.

Accordingly, I FIND probable cause to hold the defendant for a revocation hearing.

        A release hearing was held at the defendant’s request for the purpose of determining whether

he is eligible for release pending the revocation hearing. See Fed. R. Crim. P. 32.1(a)(6). The

standards governing release in these circumstances are those prescribed in 18 U.S.C. § 3143(a). Id.

Thus, the defendant is entitled to be released if he establishes, by clear and convincing evidence, that

he is not likely to flee or pose a danger to the safety of any other person or the community if released

pursuant to 18 U.S.C. § 3142(b) or (c).

        The defendant was sentenced to a term of imprisonment on January 26, 2004 following his

conviction in this court for distribution of crack cocaine and aiding and abetting the same. His

supervised release commenced on August 4, 2006. He has tested positive for use of marijuana seven

times since and including August 2, 2007, notwithstanding warnings that his continued use would

likely result in revocation proceedings. It is apparent that, notwithstanding this history and these

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warnings, the defendant continues to be a regular user of marijuana. Such use helps to maintain a

market that fosters a continuation of illegal drug supply and use which remain a scourge on the

community. The defendant has proposed no conditions of release to address this dangerousness risk.

       On the record before the court, and given the nature of the offending conduct underlying the

petition for revocation, I can only conclude that the defendant has failed to establish by clear and

convincing evidence that he is not likely to pose a danger to the safety of the community if released

pursuant to 18 U.S.C. § 3142(b) or (c).

       The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall

be afforded a reasonable opportunity for private consultation with his counsel. On order of a court of

the United States or on request of an attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United States Marshal for the purposes of an

appearance in connection with a court proceeding.

       Dated this 16th day of January, 2008.

                                                      /s/ David M. Cohen
                                                      David M. Cohen
                                                      United States Magistrate Judge




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